     Case 4:19-cv-01058 Document 37 Filed on 01/05/21 in TXSD Page 1 of 46
                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                              January 05, 2021
                       IN THE UNITED STATES DISTRICT COURT                   Nathan Ochsner, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JOE E. RANDLE,                               §
                                             §
                       Plaintiff,            §
                                             §
v.                                           §   CIVIL ACTION NO. H-19-1058
                                             §
DRAGADOS USA, INC.,                          §
PULICE CONSTRUCTION, INC.,                   §
SHI KUN & BINUI AMERICA, INC.,               §
and ALMEDA GENOA CONSTRUCTORS,               §
                                             §
                       Defendants.           §


                          MEMORANDUM OPINION AND ORDER


       Plaintiff,       Joe E. Randle        ("Plaintiff" or "Randle"),       brings

this       action   for   discrimination,        harassment,   retaliation,         and

wrongful discharge based on race, color, and sex in violation of

the Texas Commission on Human Rights Act (TCHRA), Texas Labor Code

§§ 21.001, et seq., against defendants, Dragados USA, Inc., Pulice

Construction, Inc., and Shikun & Binui America, Inc., as members of

defendant        Almeda-Genoa         Constructors     ("AGC")    (collectively,

"Defendants"),         a common-law partnership and joint venture that

employed Randle for approximately two months in early                       2018 . 1

Pending       before    the   court    are    Defendants'   Motion   for    Summary

Judgment and Brief in Support                ("Defendants' MSJ") (Docket Entry

No. 27), Defendants' Objections and Motion to Strike Plaintiff's

Affidavit in Opposition to Defendants' Motion for Summary Judgment



       1
           Plaintiff's Original Complaint, Docket Entry No. 7.
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("Defendants'     Objections and Motion to            Strike")     (Docket   Entry

No. 31), Defendants' Motion for Sanctions (Docket Entry No. 32),

Defendants' Motion in Limini and Brief in Support                    ("Defendants'

Motion in Limini") (Docket Entry No. 33), and Plaintiff's Motion

for Ineffective Assistance of Counsel During Trial (Docket Entry

No. 34).    For the reasons explained below, Defendants' MSJ will be

granted,    Defendants' Objections will be sustained,                 Defendants'

Motion to Strike will be granted, Defendants' Motion for Sanctions

and Defendants' Motion in Limini will be denied as moot,                         and

Plaintiff's Motion for Ineffective Assistance of Counsel during

Trial will be denied.



                              I.   Undisputed Facts 2

     In January of 2018 Randle began working for AGC as a laborer

and equipment operator on the State Highway ("SH") 288 construction

project    that   AGC   was    performing      for   the   Texas   Department     of

Transportation. 3       The decision to hire Randle was made by Fabio

Jaramillo    ("Jaramillo"),        the   Segment     Manager   for    the   SH   288



     2
      The undisputed facts are derived from the Declaration of Cody
Peters ("Peters Declaration"), Exhibit A to Defendants' MSJ, Docket
Entry No. 27-2, and excerpts from the Oral Deposition of Joe
Richard Randle,    Jr.,   ("Randle Deposition"),    Exhibit C to
Defendants' MSJ, Docket Entry No. 27-4.    Page numbers for docket
entries in the record refer to the pagination inserted at the top
of the page by the court's electronic filing system.
     3
      Randle Deposition, pp.   5:20-22,  63:8-18, Exhibit                    C    to
Defendants' MSJ, Docket Entry No. 27-4, pp. 3 and 5.

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project,     based        on   a    recommendation       from     Galvino     Barrera

("Barrera"),        a   project     foreman.        Randle    worked    on   the   crew

supervised by Barrera until February 22,                 2018,    when Barrera was

replaced by Francisco Esqueda ("Esqueda").                   Randle was employed on

the SH 288 project until March 9, 2018, when Jaramillo discharged

him for repeatedly violating work rules by using his cell phone

while working, taking long and unauthorized breaks, abandoning his

position     without       notice    to   his   supervisor,       and    incorrectly
                                                4
reporting on the job training hours.



              II.       Defendants' Motion for Summary Judgment

     Defendants argue that they are entitled to summary judgment

because plaintiff cannot cite evidence capable of proving that he

was discharged because of his race, 5 that his claims for sexual

harassment are actionable, or that he was discharged in retaliation

for engaging in protected activity. 6                 Asserting that his former

supervisor falsified the disciplinary report that contributed to

his discharge, plaintiff urges the court do deny Defendants' MSJ. 7


     4See Personnel Action Form, Exhibit A-4 to Peters Declaration,
Docket Entry No. 27-2, p. 19.     See also Notes of Carla Bright,
Peters' predecessor, Exhibit A-2 to Peters Declaration, Docket
Entry No. 27-2, pp. 12�1s.
     5
         Defendants' MSJ, Docket Entry No. 27, pp. 18-24.
     6
         1 d. at 24-30.
     7
         Plaintiff[']s Response to Defendants[']                Motion for Summary
                                                                     (continued... )

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A.     Applicable Law

       1.    Standard of Review

       Summary judgment is authorized if the movant establishes that

there is no genuine dispute about any material fact and the law

entitles it to judgment.         Fed. R. Ci v. P. 56.         Disputes about

material facts are       "genuine"   if    the   evidence    is    such   that a

reasonable jury could return a verdict for the nonmoving party.

Anderson v. Liberty Lobby, Inc., 106 S. Ct. 2505, 2511 (1986)                 The

Supreme Court has interpreted the plain language of Rule 56 to

mandate the entry of summary judgment "after adequate time for

discovery and upon motion, against a party who fails to make a

showing     sufficient   to   establish    the   existence    of    an    element

essential to that party's case, and on which that party will bear

the burden of proof at trial."             Celotex Corp. v. Catrett, 106

S.   Ct. 2548, 2552 (1986).       A "party moving for summary judgment

must 'demonstrate the absence of a genuine issue of material fact,'

but need not negate the elements of the nonmovant's case."                 Little

v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en bane)

(per curiam) (quoting Celotex, 106 S. Ct. at 2553).               "If the moving

party fails to meet this initial burden, the motion must be denied,

regardless of the nonmovant's response." Id.                If, however, the

moving party meets this burden, Rule 56 requires the nonmovant to

       7
      ( ••• continued)
Judgment with Disputed Facts ("Plaintiff's Response"), Docket Entry
No. 28, p. 6.

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go beyond the pleadings and show by               admissible evidence that

specific facts exist over which there is a genuine issue for trial.

Id.   "[T]he court must draw all reasonable inferences in favor of

the nonmoving party, and it may not make credibility determinations

or weigh the evidence."        Reeves v. Sanderson Plumbing Products,

Inc., 120 S. Ct. 2097, 2110 (2000).             Factual controversies are to

be resolved in favor of the nonmovant, "but only when there is an

actual controversy,       that is,      when both parties have submitted

evidence of contradictory facts."             Little, 37 F.3d at 1075.



      2.    The Texas Commission on Human Rights Act

      Randle's employment discrimination claims are not based on

federal    law   but,   instead,   on    the   TCHRA.    Discrimination   and

harassment in employment based on race and sex are prohibited by

the TCHRA, which provides that

      [a]n employer commits an unlawful employment practice if
      because of race, color, disability, religion, sex,
      national origin, or age the employer:

      (1) fails or refuses to hire an individual, discharges an
      individual, or discriminates in any other manner against
      an individual in connection with compensation or the
      terms, conditions, or privileges of employment; or

      (2) limits, segre,gates,       or classifies an employee or
      applicant for employment       in a manner that would deprive
      or tend to deprive an          individual of any employment
      opportunity or adversely       affect in any other manner the
      status of an employee.

Tex. Labor Code§ 21.051.       Retaliation is prohibited by§ 21.055 of

the Texas Labor Code, which provides that

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     [a] n employer         commits an unlawful employment
     practice if the     employer             retaliates or
     discriminates against a person who, under this chapter:

     (1)    opposes a discriminatory practice;
     (2)    makes or files a charge;
     (3)    files a complaint; or
     (4)    testifies, assists, or participates in any manner
            in an investigation, proceeding, or hearing.

Texas Labor Code § 21.055.

     These provisions of the. TCHRA are "modeled on the Federal

Civil Rights Act of 1991      (Title VII); thus,     Texas courts follow

federal statutes and cases in applying the statute."         Exxon Mobil

Corp. v. Hines, 252 S.W.3d 496, 507-08 (Tex. App. - Houston [14th

Dist.],    2008,   pet. denied).   See also Wal-Mart Stores,     Inc. v.

Canchola, 121 S.W.3d 735, 739 (Tex. 2003) (per curiam) (recognizing

that "[t] he [Texas]     Legislature intended to correlate state law

with federal law in employment discrimination cases when it enacted

the TCHRA"); Evans v. City of Houston, 246 F.3d 344, 349 (5th Cir.

2001) (the same analytical framework is used to evaluate claims of

discrimination in employment under both Texas and federal law).

The ultimate       question in these cases is whether the employer

intentionally discriminated against the employee.        See Exxon Mobil,

252 S.W.3d at 508.     Like comparable federal law, the TCHRA does not

protect employees from unfair decisions, but only from decisions

based on unlawful discrimination;          the issue is not whether the

employer made an erroneous decision, but whether the decision was

made with discriminatory intent.          See Mayberry v. Vought Aircraft

Co., 55 F.3d 1086, 1091 (5th Cir. 1995)

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       Employment discrimination plaintiffs may rely on either direct

or circumstantial evidence, or both.         See Wallace v. Seton Family

of Hospitals,     777 F. App'x 83,    87   (5th Cir. 2019)     (per curiam)

(citing Wallace v. Methodist Hospital System,             271 F.3d 212, 219

(5th Cir. 2001))      See also United States Postal Service Board of

Governors v. Aikens, 103 S. Ct. 1478, 1481 n. 3 (1983) (recognizing

that intentional discrimination may be proved by either direct or

circumstantial evidence).      "Direct evidence is evidence which, if

believed, proves the fact [of intentional discrimination] without

inference or presumption."      Portis v.    First National Bank of New

Albany,    Mississippi,   34 F.3d 325,     328-29   (5th Cir. 1994).      If

direct evidence of discrimination exists, the plaintiff is allowed

to bypass the burden-shifting analysis articulated by the United

States Supreme Court in McDonnell Douglas Corp. v. Green, 93 S. Ct.

1817   (1973),   used in circumstantial evidence cases.          Portis, 34

F.3d at 328 ("The McDonnel Douglas test is inapplicable where the

plaintiff presents direct evidence of discrimination.").

       The McDonnell Douglas burden-shifting analysis requires the

plaintiff to present evidence establishing a prima facie case.          Id.

at 1824.    Once a prima facie case is established, a presumption of

discrimination arises, and the burden of production shifts to �he

defendant to offer evidence of a legitimate,           non-discriminatory

reason for the employment action at issue.          Id.    If the defendant

meets this burden of production, the presumption of discrimination


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created by the prima facie case disappears, and the plaintiff is

required to present evidence capable of meeting the ultimate burden

of persuasion on the issue of intentional discrimination.                                     This

burden may be met by producing "sufficient evidence to create a

genuine     issue   of   material    fact that      either        (1)    [defendants']

reason[s are] a pretext or (2)         [defendants' reason[s], while true,

[are]   only    one   of   the   reasons      for   its    conduct,       and           another

'motivating factor' is           [plaintiff's]      protected characteristic."

Wallace, 777 F. App'x at 87 & n. 6 (citing Quantum Chemical Corp.

v. Toennies, 47 S.W.3d 473, 479-80 (Tex. 2001) (citing Texas Labor

Code § 21.125(a)      ("Except as otherwise provided by this chapter, an

unlawful employment practice is established when the complainant

demonstrates that race, color, sex, national origin, religion, age,

or disability was a motivating factor for an employment practice,

even if other factors also motivated the practice                              •   If   ) )     In

Reeves v.      Sanderson    Plumbing    Products,         Inc.,    120    S.       Ct. 2097

(200 0) ,   the Supreme Court explained that the McDonnell Douglas

analysis does not require a plaintiff to produce evidence of both

pretext and actual discriminatory intent to create a fact issue,

and that "a plaintiff's prima facie case, combined with sufficient

evidence to find that the employer's asserted justification is

false, may permit the trier of fact to conclude that the employer

unlawfully discriminated."          Id. at 2109.




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B.        Analysis

          1.      Race and Color Discrimination

          Plaintiff alleges that defendants discriminated against him on

the basis of his race and color,                   African American and black,

because in late January of 2018 his supervisor, Barrera, a Hispanic

male,         told him,    "I would not have hired you if I knew you were

black," and also stated that plaintiff "hangs around white people

too much. " 8           Defendants argue that they are entitled to summary

judgment on Randle's race discrimination claims because he cannot

produce          direct    or    circumstantial    evidence   of    race     or    color

discrimination, and cannot produce e'vidence from which a reasonable

jury          could   conclude    that   defendants'    stated     reasons    for    his

discharge were a pretext for race or color discrimination. 9



                  (a)     Plaintiff Fails to Cite Direct Evidence of Race or
                          Color Discrimination

          For     workplace      comments   to   constitute   direct   evidence          of

discrimination, the comments must be (1) related to the plaintiff's

protected class, (2) proximate in time to the complained-of adverse

employment decision, (3) made by an individual with authority over

the employment decision at issue, and (4) related to the employment

decision at issue.               Rubenstein v.    Administrators of the Tulane


          8
              Plaintiff's Original Complaint,          Docket Entry No.       7,    p.    5
CJ! 18.
          9
              Defendants' MSJ, Docket Entry No. 27, pp. 18-24.

                                            -9-
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Educational      Fund,    218 F.3d 392,     400-01   (5th Cir. 2000),      cert.

denied, 121 S. Ct. 1393 (2001) (quoting Brown v. CSC Logic, Inc.,

82 F.3d 651,      655     (5th Cir. 1996),     abrogated in part on other

grounds by Russell v. McKinney Hospital Venture, 235 F.3d 219, 225

(5th Cir. 2000))          If the comments fail to meet these criteri?, if

they are vague and remote in time,              or if the speaker has no

authority    or influence over the adverse action at issue,                  the

comments are merely          stray    remarks that   are not    sufficient    to

establish discrimination.            See Brown, 82 F.3d at 655.       See also

Laxton v. Gap, Inc., 333 F.3d 572, 583 n. 4 (5th Cir. 2003) ("We

continue to apply the CSC Logic test when a remark is presented as

direct evidence of discrimination apart from the McDonnell Douglas

framework.").

     The comments about which plaintiff complains do not constitute

direct evidence of discrimination because Randle testified at his

deposition    that       while   Barrera   supervised   him   when   he   started

working on the SH 288 project, when the decision to discharge him

was made Barrera no longer worked there, 10 the decision to discharge

him was made by Jaramillo, 11 and Randle never reported Barrera's




     10 Randle
             Deposition, pp. 251:4-6, Exhibit C to Defendants' MSJ,
Docket Entry No. 27-4, p. 33.

     11 Id. at 250:18-251:3, Exhibit C to Defendants' MSJ, Docket
Entry No. 27-4, p. 33. See also Declaration of Fabio Jaramillo
("Jaramillo Declaration"), Exhibit B to Defendants' MSJ, Docket
Entry No. 27-3, pp. 3-4 � 5.

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discriminatory comments to Jaramillo or to anyone else.12                   Thus,

while        Randle   alleges    that   Barrera     made   race-based   comments,

undisputed evidence - including Randle's deposition testimony -

shows that the comments about which Randle complains were neither

made by an individual with authority over the decision to discharge

him,     related to      the    decision    to    discharge· him,   nor known   to

Jaramillo, the individual who made the decision to discharge him.

Accordingly, the race-based comments that Randle contends Barrera

made to him are not direct evidence of discrimination.




      Id. at 31:6-32:24, and 133:10-21, Exhibit C to Defendants'
        12

MSJ, Docket Entry No. 27-4, pp. 4 and 20.        Randle has submitted
Plaintiff['s] Affidavit in Dispute of Defendant Peters, Cody, and
Fabio Jaramillo ("Plaintiff's Affidavit"), Docket Entry No. 29, in
the last paragraph of which he asserts that "the declaration of
Jaramillo, Fabio is fictitious and holds no merits because not only
is it done at a later date and time but            it is spurious and
holds no factuality."    Id. at 2.   Defendants object and move to
strike the last paragraph of Plaintiff's Affidavit arguing that "it
is speculative, conclusory, and lacks foundation.          Plaintiff's
allegations regarding the date of Fabio Jaramillo's declaration and
opinions about its contents are nothing but arguments and
conclusory   allegations   and   are   therefore     inadmissible."
Defendants' Objections and Motion to Strike Plaintiff's Affidavit
in Opposition to Defendants' Motion for Summary Judgment, Docket
Entry No. 31, p. 3.     Because Rule 5 6 (c) ( 4) requires affidavits
opposing a motion for summary jud-gment to be made on personal
knowledge, and to show affirmatively that the affiant is competent
to testify regarding the matters stated, and because Plaintiff's
Affidavit fails to offer any basis for asserting that Jaramillo's
declaration is fictitious, defendants' objection to the last
paragraph of Plaintiff's Affidavit         is SUSTAINED,      and the
defendants' motion to strike the last paragraph of Plaintiff's
Affidavit will be granted.

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            (b)    Plaintiff Fails to Cite Circumstantial Evidence of
                   Race or Color Discrimination

     Because Randle has not cited direct evidence of race or color

discrimination, his claims for race and color discrimination must

by analyzed under the McDonnell Douglas burden-shifting framework.



                   (1)   Randle Establishes a Prima Facie Case

     To establish a prima facie case of race discrimination using

the McDonnell Douglas framework, Randle must cite evidence capable

establishing that:       (1) he belongs to a protected group; (2) he was

qualified for his position;      (3) he suffered an adverse employment

action; and (4) he was replaced by or treated less favorably than

similarly situated       employees   outside   of    his   protected   group.

McDonnell Douglas, 93 S. Ct. at 1824.        See Wallace, 777 F. App'x at

87 (citing McCoy v. City of Shreveport, 492 F.3d 551, 557 (5th Cir.

2007)).     Defendants do not dispute that the first through third

prongs of Randle's prima facie case are established because as an

African American, Randle belongs to a protected group; Randle was

qualified    for   his   position;    and   Randle   suffered    an    adverse

employment action when he was discharged. 13           Citing Berquist v.

Washington Mutual Bank, 500 F.3d 344, 353 (5th Cir. 2007), cert.

denied, 128 S. Ct. 1124 (2008), and asserting that Randle "admits



      Defendants' MSJ, Docket Entry No. 27, pp. 20-21 (disputing
     13

only Randle's ability to satisfy the fourth prong of his prima
facie case).

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that he does not know who, if anyone, replaced him after his

discharge," 14      defendants       argue      that   "Randle    has   no   competent

evidence that he was treated less favorably than other employees

outside his protected class in 'nearly identical circumstances.'"15

In    Berquist      the    Fifth   Circuit      held   that for    employees      to   be

considered "similarly situated" the circumstances at issue must

have been "nearly identical."                500 F.3d at 353 (quoting Perez v.

Texas Department of Criminal Justice, Institutional Division, 395

F.3d     206,     210     (5th Cir. 2004), cert. denied, 126 S. Ct. 545

(2005)).

        Randle has not cited evidence capable of establishing that he

was replaced by someone outside of his protected group or that

employees        outside     of    his   protected     group     were   treated    more

favorably under similar, i..!....§....!.-'      nearly identical, circumstances.

Instead,        Randle     responds      that    "defendants'     so    called    facts

describing        [his]    job performance issues are                   spurious and

fictitious in nature." 16             And Randle testified at his deposition

that he did not engage in any of the work rule violating conduct

for which defendants say he was discharged. 17


      Id. at 21 (citing Randle Deposition, p. 252:14-17, Exhibit
        14

C to Defendants' MSJ, Docket Entry No. 27-4, p. 33).



        16
             Plaintiff's Response, Docket Entry No. 28, p. 3.
        17
             Randle Deposition, pp. 177:6-182:21, Exhibit C to Defendants'
                                                            (continued...)

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         In work rule violation cases such as this, "a plaintiff may

establish a prima facie case by showing 'either that he did not

violate the rule or that, if he did,                  employees [outside his

protected group]         who engaged in similar acts were not punished

similarly.'"       Mayberry, 55 F.3d at 1090.         Courts in this circuit

are split on whether a plaintiff may establish a prima facie case

merely by denying that he violated a relevant work rule.                  See

Harkness v. Bauhaus U.S.A., Inc., 86 F.Supp.3d 544, 556 (N.D. Miss.

2015) (collecting cases).           "In recognition of this split, recent

decisions have assumed without deciding that mere denials satisfy

a plaintiff's prima facie burden."             Id.   See also Lacy v. Dallas

Cowboys Football Club, No. 3:11-cv-0300-B, 2012 WL 2795979, *7

(N. D.     Tex.   July    10,   2012)   (assuming    without   deciding   that

plaintiff's denial of having ,engaged in the conduct for which he

was discharged was sufficient to establish a prima facie case).

Because the Fifth Circuit has held that establishing a prima facie

case requires "only .           . a very minimal showing," Nichols v. Loral

Vought Systems Corp., 81 F.3d 38, 41 (5th Cir. 1996), the court

assumes without deciding that Randle's deposition testimony that he

did not engage in the conduct for which he was discharged is

sufficient to establish a prima facie case.




     17 ( ••• continued)
MSJ, Docket Entry No. 27-4, pp. 27-28.

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                    (2)   Defendants    Cite    a   Legitimate,    Non-
                          Discriminatory Reason for Randle's Discharge

      Citing the Peters Declaration, Randle's personnel file, and

the   Jaramillo     Declaration,     defendants     assert   that   Randle    was

discharged for repeatedly engaging in conduct that violated work

rules by using his cell phone while working,                 taking long and

unauthorized breaks, abandoning his position during work without

notice to his supervisor, and incorrectly reporting hours for on

the job training. 18      Peters states in his declaration that he has

been the Human Resources           ("HR")   Manager for the SH 288 project

since August 20, 2018, that he is personally familiar with Randle's

personnel records because when he "assumed the role of [HR] Manager

for the 288 Project,       [he] had access to records created by [his]

predecessors in the course of their regular activities related to

employees      on   the   288    Project,     including   records   created    by

Ms.   Bright, "19   and he "reviewed notes          prepared   by Ms.   Bright

regarding Mr. Randle's employment, her investigation into reports

made by Randle during his employment,              as well as Randle's job

performance issues." 20         Peters states that

      [a] ccording to Ms. Bright's investigation notes, in
      February    2018,  Randle  reported  to   [her]  that


      18
           Defendants' MSJ, Docket Entry No. 27, pp. 10-14.

      Peters Declaration,
      19
                                   Exhibit A to Defendants' MSJ,         Docket
Entry No. 27-2, p. 3 � 5.

      rd. (citing Notes of Carla Bright, Exhibit A-2 to Defendants'
      20

MSJ, Docket Entry No. 27-2, pp. 12-15)

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     Mr. Barrera [] did the fallowing: ( 1) requested that he
     not use his cell phone during work time as required by
     AGC's safety policies; and (2) acted envious of Randle's
     truck.

                   [ F] allowing her meeting with Mr. Randle,
     Ms. Bright spoke with Mr. Jaramillo regarding the
     situation with Mr.        Barrera and Mr.     Randle,  and
     Mr.  Jaramillo confirmed that Mr.         Barrera had to
     frequently counsel Mr. Randle about not using his phone
     and not doing his work.          Mr. Jaramillo also told
     Ms. Bright that he personally had instructed Mr. Barrera
     to issue Mr. Randle a write up for these infractions. A
     true and correct copy oi the disciplinary write up [in]
     Mr. Randle's personnel records dated February 2018 is
     attached as Exhibit A-3. The write up lists Mr. Randle's
     issues with taking long, unauthorized breaks, using his
     phone during work hours, and not following directions
     when operating equipment.      The write up further states
     that Mr. Randle had been verbally warned many times about
     these issues.



              . Barrera was no longer employed by AGC as of
     February 22, 2018, and Mr. Randle began reporting to a
     new foreman, Francisco Esqueda.

            Ms. Bright's investigation notes detail continued
     performance issues by Mr. Randle, including discrepancies
     in hours reported by Mr. Randle and performance issues
     observed by Mr. Esqueda.    Mr. Randle was discharged on
     March 9, 2018, due to these continued job performance
     issues. A true and correct copy of the Personnel Action
     Form from Mr. Randle's personnel records, which shows his
     termination date of March 9, 2018, is attached as Exhibit
     A-4. 21

     Attached to the Peters Declaration is a Disciplinary Action

Form issued to Randle on February 8, 2018, describing the following

violations:

              Taking long unauthorized breaks.


     21
          Id. at 3-5 c_['j[ 6-7, 9-10.

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             Being on the phone inside the car and away from the
             crew during working hours.

             Not following directions when operating equipment. 22

The section titled "Employer Comments" states that "[e]mployee has

been verbally warned many times about the violations above.          When

hired employee claimed to know how to operate the equipment.         When

instructed to use the equipment after hire he .claimed he does not

know how to operate." 23     Although Randle signed the Disciplinary

Action Form, the section titled "Employee Comments" is blank, and

the boxes labeled "Agree" and "Disagree with this action being

taken" are both unmarked.24   Also attached to the Peters Declaration

is a Personnel Action Form stating that Randle was terminated

effective March 9, 2018, for "[w]ork rule violation." 25

     In pertinent part the Jaramillo Declaration states that

     [f]rom the beginning of Mr.        Randle's employment,
     Mr. Barrera and I verbally counseled Mr. Randle multiplJ
     times for performance issues, including the following:
     frequent use of his cell phone while working, frequent
     taking of long and unauthorized breaks, abandonment of
     his position during work without notice to his


     22
          Exhibit A-3 to Peters Declaration,   Docket En try No. 27-2,
p. 17.



     24
       Id.  See also Randle Deposition, pp. 177:6-183:16, Exhibit
C to Defendants' MSJ, Docket Entry No. 27-4, pp. 27-28 (testifying
that he received the Disciplinary Action Form, signed it, and that
although he denies having engaged in the alleged conduct, he did
not make any comments or state any objections on the form).
     25
          Exhibit A-4 to Peters Declaration,    Docket Entry No. 27-2,
p. 19.

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  supervisor;  inability to properly operate certain
  equipment, including roller machine (even though he
  claimed prior to his hire he had experience operating
  roller machines); and incorrect reporting of hours for on
  the job training. Mr. Barrera reported to me on several
  occasions that he observed these job performance issues
  with Mr. Randle.

        In February of 2018, I informed Human Resoures
   ("HR") Manager Carla Bright that Mr. Barrera and I had to
   frequently counsel Mr. Randle about not using his phone
   while working on the jobsite and not doing his work and
   that I observed that he did not know how to operate the
   roller machine.   I also informed Ms. Bright that I had
   personally instructed Mr. Barrera to issue Mr. Randle a
   disciplinary write up for these infractions
   Following my instruction,     Mr.   Barrera issued the
   disciplinary write up to Mr. Randle on or around February
   9, 2018.

        Mr. Barrera left AGC in February of 2018, and
   Mr. Randle began reporting to a different foreman,
   Francisco Esqueda.      Despite verbal counseling and
   receiving a formal write up, I continued to receive
   reports from Mr.     Esqueda regarding the same job
   performance issues with Mr. Randle, including walking off
   the job site and remaining away for long periods of time.
   As a result of these continuing job performance issues
   that Mr. Randle failed to correct, despite receiving
   counseling, I made the decision to discharge Mr. Randle
   from employment. Mr. Barrera was no longer employed with
   AGC at the time I made the decision to discharge
   Mr. Randle, and Mr. Barrera had no involvement in the
   termination decision. Ms. Bright was also not involved
   in the decision to discharge Mr. Randle.       I informed
   Mr. Randle of his discharge on March 9, 2018.

        My decision to discharge Mr. Randle had nothing to
   do with his race or sex. I was never made aware during
   Mr. Randle's employment with AGC of any complaints by
   Mr. Randle that he felt like he was being discriminated
   against or harassed because of his race or sex, that
   another employee had touched him, or that employees made
   discriminatory remarks about him. 26


   26
        Jaramillo Declaration, Exhibit B to Defendants' MSJ, Docket
                                                     (continued ... )

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     Because violation of work rules constitutes a legitimate, non-

discriminatory      reason     for     terminating   Randle's   employment,

Mayberry,   55    F.3d    at   1093,   defendants'   evidence   that   Randle

violated work rules by using his cell phone while working, taking

long and unauthorized breaks, abandoning his position during work

without notice to his supervisor, and incorrectly reporting hours

for on the job training constitute legitimate, non-discriminatory

reasons for Randle's discharge.


                   (3)    Randle Fails to Cite Evidence Capable            of
                          Establishing Pretext or Motivating Factor

     Because defendants have cited legitimate,           non-discriminatory

reasons for discharging Randle, Randle must substantiate his claim of

race and color discrimination by offering evidence capable of proving

that discriminatory animus lay at the           heart of the    decision to

discharge him.     Wallace, 777 F. App'x at 89 (citing Price v. Federal

Express Corp., 283 F.3d 715, 720 (5th Cir. 2002)).         Randle can carry

his burden by offering substantial evidence capable of proving either

that and defendants' stated reasons for his discharge are a pretext for

race or color discrimination by showing that he was treated differently

than similarly situated employees outside of his protected group, or

that defendants' stated reasons for his discharge are false or unworthy

of credence,     and that race or color discrimination was at least a



     26( ••• continued)

Entry No. 27-3, pp. 2-4 �� 3-6.

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motivating factor for his discharge.           Wallace,       777 F. App'x at 89.

Because Randle has failed to offer evidence that he was treated

differently than employees outside of his protected group and, instead,

merely asserts that defendants' stated reasons for his discharge are

false or unworthy       of credence,     Randle    must       offer   evidence that

(1) rebut[s] each non-discriminatory reason articulated by defendants,

and (2) shows that the real reasons were discriminatory animus for his

race or color.     See Wallace, 777 F. App'x at 89 (citing Laxton, 333

F.3d at 578).    "Evidence is substantial if it is of such quality and

weight that reasonable and fair-minded men [or women] in the exercise

of impartial judgment might reach different conclusions."               Id. (citing

Laxton, 333 F.3d at 579).

     Defendants       have   offered    evidence      that      the    decision   to

discharge Randle was based solely on Jaramillo's conclusion that

Randle continuously violated work rules by using his cell phone

while working, taking long and unauthorized breaks, abandoning his

position     during   work   without     notice    to     his    supervisor,      and

incorrectly reporting hours for           on    the     job    training.     Randle

attempts to demonstrate pretext simply by asserting that he did not

engage in the conduct for which Jaramillo discharged him,                         and

insisting,     without substantiation,         that   his discharge        was the

result of race or color discrimination. 27               Missing from Randle's

response to Defendants MSJ is any evidence from which reasonable


     27
          Plaintiff's Response, Docket Entry No. 28, pp. 3-5.

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jurors could conclude that Jaramillo did not believe that Randle

engaged in          the    conduct       for    which    he    was   discharged,      or   that

Jaramillo harbored animus for Randle's race or color.                                 Whether

Jaramillo was wrong to believe that Randle engaged in the conduct

for which he was discharged "is irrelevant, as even an employer's

incorrect belief in the underlying facts - or an improper decision

based        on    those       facts          can    constitute      a    legitimate,      non-

discriminatory reason for termination."                          Amezquita v. Beneficial

Texas, Inc., 264 F. App'x 379, 386 (5th Cir. 2008)                               (per curiam).

See Mayberry,         55 F.3d at 1086                ("The question. is not whether an

employer made an erroneous decision; it is whether the decision was

made with discriminatory motive."); Cervantez v. KMGP Services Co.

Inc., 349 F. App'x 4, 10                  (5th Cir. 2009)         (per curiam)       ("A fired

employee's actual innocence of his employer's proffered accusation

is irrelevant as long as the employer reasonably believed it and

acted        on it in          good    faith.").        Randle    cannot     establish     that

defendants' stated reasons for his discharge are a pretext for

discrimination merely by presenting his own testimony, Amezquita,

264     F.    App'x       at    386,     or    by    "reasserting        [his]    prima    facie

evidence."         Mayberry, 55 F.3d at 1091.                 Because apart from Randle's

own testimony that defendants' stated reasons for his discharge are

false,       the    summary       judgment          record    contains    neither    evidence

rebutting defendants' legitimate,                      non-discriminatory reasons for

his discharge,            nor evidence from which reasonable jurors could


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conclude that the decision to discharge him was motivated by animus

for his race or color, Randle has failed to raise a genuine issue

of    material      fact   for   trial   on   his    claims   of   race    or   color

discrimination.



              (c)    Conclusions as to Race and Color Discrimination

        Because     Randle   has    failed      to   offer    either      direct   or

circumstantial evidence from which reasonable jurors could conclude

that the decision to discharge him was motivated by discriminatory

animus for his race or color,_ defendants are entitled to summary

judgment on Randle's race and color discrimination claims.



        2.    Sexual Harassment/Hostile Environment

        Plaintiff alleges that defendants discriminated against him on

the basis of his sex, male, by subjecting him to harassment that

created a hostile work environment because in

        early February 2018, Francisco Botello [("Botello")], a
        bulldozer operator that is higher in the chain of command
        than Plaintiff, grabbed and groped Mr. Randle on the
        buttocks.   Mr. Randle immediately told Botello that he
        was not okay with the harassment. Botello grabbed Randle
        in front of Supervisor Barrera.    Barrera refused to do
        anything about the incident, even though Randle insisted
        this not just mere horseplay.

             On or around the same time period, Bulldozer
        Operator Botello again grabbed and groped Randle on the
        buttocks in front of Barrera, this time at an employee
        meeting.   Randle turned around to Botello, raised his
        voice, and demanded that Botello stop.       Supervisor
        Barrera again failed to address this incident.


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          On or around February 8, 2018, Mr. Randle complained
     to [HR] Manager Carla Bright       . of two incidents of
     sexual harassment by Botello done in plain view of
     Supervisor Barrera.



          Defendants never provided Mr. Randle any feedback or
     indication that his complaints of illegal discrimination
     and harassment were being investigated.

          After [Randle]'s complaints, Plaintiff Randle was
     transferred to work under a black male foreman.   28



     Defendants argue that they are entitled to summary judgment on

Randle's sexual harassment/hostile environment claims because the

conduct about which he complains does not constitute actionable

sexual harassment,      and,     alternatively,   because defendants took

prompt remedial action to abate the conduct which did not reoccur. 29



              (a)   Randle Fails to Establish a Prima Facie Case of
                    Sexual Harassm�nt/Hostile Environment

     Texas law recognizes that an employer may be held liable for

sex discrimination under § 21.051 of the Texas Labor Code if its

employees commit acts of sexual harassment that create a hostile

work environment.       See Gumpert v. ABF Freight System,      Inc.,     293

S.W.3d 256, 261 (Tex. App. - Dallas 2009, no pet.).        Because Randle

testified during his deposition that the alleged harasser, Botello,

had the same        job as he,    was not his supervisor,     and   had    no


      Plaintiff's Original Complaint, Docket Entry No. 7, pp. 5-6
     28

�� 19-21 and 23-24.
     29
          Defendants' MSJ, Docket Entry No. 27, pp. 8 and 24-27.

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authority over his employment or pay, 30 to establish a prima facie

case of sexual harassment/hostile work environment,                          Randle must

offer        evidence    capable    of     proving    that     (1)    he   belongs      to   a

protected group,              (2) he was subjected to unwelcome harassment,

(3) the harassment was based on sex,                 ( 4)   the harassment affected a

term, condition, or privilege of employment, and (5) the employer

knew or should have known of the harassment but failed to take

prompt remedial action.               Alief    Independent          School   District v.

Brantley,       558 S.W.3d 747,       757    (Tex. App. - Houston            [14th Dist.]

2018,        pet.   denied)      (citing    Alamo     Heights        Independent       School

District v. Clark, 544 S.W.3d 755, 771 (Tex. 2018)).                          Defendants

argue that Randle cannot establish the fourth or fifth elements of

his sexual harassment/hostile environment claim. 31



                        (1)    Randle Fails to Cite Evidence Capable of
                               Proving that the Alleged Harassment Affected a
                               Term, Condition or Privilege of His Employment

        To establish a hostile work environment caused by sexual

harassment,         an employee plaintiff must cite evidence capable of

proving        that     the    harassment    complained        of    affected      a    term,


       Randle Deposition, pp. 71:3-16, 150:6-151:2, Exhibit C to
        30

Defendants' MSJ, Docket Entry No. 27-4, pp. 7 and 22.     See also
Peters Declaration, Exhibit A to Defendants' MSJ, Docket Entry
No. 27-2, p. 4 � 8 ("[D]uring Mr. Randle's employment, Mr. Botello
worked as a laborer and co-worker of Mr. Randle's; Botello was not
Mr.   Randle's  supervisor   and  made   no  decisions   regarding
Mr. Randle's employment or pay.")
        31
             Defendants' MSJ, Docket Entry No. 27, pp. 24-27.

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condition, or privilege of the plaintiff's employment.                     Brantley,

558 S.W.3d at 757; Clark, 544 S.W.3d at 771.             This inquiry involves

a subjective and objective component.               Harris v. Forklift System,

Inc.,    114 S. Ct. 367,       370-71     (1993)      "The     [p]laintiff []      must

subjectively perceive the harassment as sufficiently severe or

pervasive,      and this subjective perception               must   be objectively

reasonable."      Frank v. Xerox Corp., 347 F.3d 130, 138 (5th Cir.

2003)    (citing Harris,      114 S. Ct. at 371).            "[S]imple teasing,

offhand comments, and isolated incidents (unless extremely serious)

will not     amount     to   discriminatory        changes    in    the   'terms    and

conditions of emplo�ment.'"          Faragher v. City of Boca Raton, 118

S. Ct. 2275, 2283 (1998).          Whether an environment is objectively

hostile or abusive is determin�d by considering the totality of the

circumstances.         Id.   (citing Harris, 114 S. Ct. at 370-71).                 See

also Brantley, 558 S.W.3d at 757, and Clark, 544 S.W.3d at 771.

Courts look to the "frequency of the discriminatory conduct; its

severity; whether it is physically threatening or humiliating as

opposed to a mere offensive utterance; and whether it unreasonably

interferes with an employee's work performance."                      Faragher,     118

S. Ct. at 787 (citing Harris, 114 S. Ct. at 370-71)

        Randle's sexual harassment/hostile environment claim is based

on his allegations and deposition testimony that on two different

occasions in February of 2018 Botello briefly touched his buttocks

outside    of    his    clothes,   and    that     although    Randle's     foreman,


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Barrera, was present when Botello touched him, Barrera did not take

any   action. 32      Accepting    Randle's    allegations    and   relevant

deposition testimony as true, and assuming without deciding that

the alleged harassment was sexual in nature, the court concludes

that the conduct about which Randle complains does not constitute

actionable harassment because Randle fails to cite any evidence

from which reasonable jurors could conclude that the conduct was

sufficiently       frequent,   severe,   threatening,   or   humiliating   to

affect a term, condition, or privilege of his employment.             Randle

testified that the touching lasted only a matter of seconds, 33 he

was touched outside of his clothes, 34 and both instances of touching

occurred in the presence of four or five other male members of his

crew, 35 who laughed, smiled, and smirked. 36     Although Randle alleges

that the touching occurred in the presence of Barrera who did

nothing about it,       Randle testified that the first time Botello




      Randle bepositibn, pp. 92:10-105:7, Exhibit C to Defendants'
      32

MSJ, Docket Entry No. 27-4, pp. 9-13.

      Id. at 102:6-8, Exhibit C to Defendants' MSJ,
      33
                                                               Docket Entry
No. 27-4, p. 12.

      Id. at 99:1-6,
      34
                           Exhibit C to Defendants' MSJ,       Docket Entry
No. 27-4, p. 11.

      Id. at 92:17-22 (first touch); and 99:7-100:8 (second touch),
      35

Exhibit C to Defendants' MSJ, Docket Entry No. 27-4, pp. 9 and 11.

      Id. at 103:18-104:25, Exhibit C to Defendants' MSJ,
      36
                                                                      Docket
Entry No. 27-4, p. 12.

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touched him,    Barrera told Botello to stop playing.              37
                                                                          Moreover,

Randle testified that each time               Botello touched      him,    he told

Botello to stop,        and that. after the second time Botello never

touched him again. 38     Randle testified that he liked his job, he was

good at his job,        and that nothing prevented him from doing his

work. 39     Randle's    testimony   shows      that   the   two   instances     of

unwelcome touching about which he complains were merely isolated

incidents     that   were    neither     sufficiently        frequent,      severe,

threatening, nor humiliating to have interfered with or undermined

his work performance,       and the two incidents did not,                in fact,

interfere with or undermine his work performance.              Accordingly, the

court concludes that accepting Randle's allegations and deposition

testimony as true, Randle has failed to cite evidence from which

reasonable jurors could find that Botello's conduct created an

objectively hostile work environment, �, an environment that a

reasonable person would find hostile and abusive.                  See Faragher,

118 S.     Ct. at 2284 ("We have made it clear that conduct must be

extreme to amount to a change in the terms and conditions of

employment.").



      Id. at 94:4-97:2, Exhibit C to Defendants' MSJ, Docket Entry
      37

No. 27-4, pp. 10-11.

      Id. at 92:10-105:7, 151:4-18, 171:15-172:12, Exhibit C to
      38

Defendants' MSJ, Docket Entry No. 27-4, pp. 9-13, 22, and 26.

      Id. at 64:23-66:13,
      39
                                 Exhibit C to Defendants' MSJ,               Docket
Entry No. 27-4, pp. 5-6.

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                   (2)   Randle Fails to Cite Evidence Capable of
                         Establishing that AGC Failed to Take Prompt
                         Remedial Action to Stop the Alleged Harassment

     Even   if     the   conduct   about   which   Randle   complains   was

sufficiently extreme to create a hostile work environment, the

summary judgment record establishes that defendants did not fail to

take prompt remedial action,        and that after Randle lodged his

complaints, the conduct about which he complains did not reoccur.

Randle testified that he reported the two instances of alleged

harassment to HR Manager Bright on two different days about one

week apart. 40    Notes maintained by Bright indicate that on February

7, 2018, Randle complained to her that a co-worker touched his

buttocks on two separate occasions, and that on February 12, 2018,

he asked her if she had spoken to the person who had touched him

and Randle, for the first time, identified Botello as that person. 41

Randle testified that Bright told him to work on a different crew

for which the foreman was a black male named Mr. Arthur, but that

Randle never made the transfer. 42         Although Randle contends that

Bright did not investigate his complaints of sexual harassment, and

characterizes the entire process as "unfair," 43 Randle testified


     AOid. at 89:2-92:9, 93:6-105:20, Exhibit C to Defendants' MSJ,
Docket Entry No. 27-4, pp. 9-13.
     4
      1 Exhibit   A-2 to Defendants' MSJ, Docket Entry No. 27-2, p. 12.

      Randle Deposition, pp. 115:13-124:23, 153:2-154:1, Exhibit
     42

C to Defendants' MSJ, Docket Entry No. 27-4, pp. 15-17, and 23.
     43 Plaintiff'sAffidavit, Docket Entry No. 29, p. 2 i 1
(asserting that "when the complaint was first lodged Mrs. Bright
never properly investigated the claims.  ."), and i 2 (asserting
                                                   (continued... )

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that he did not know what, if any, investigation Bright conducted, 44

and that after he complained about Botello's conduct to Bright,

Botello    did    not   touch   him   again.45      Attached   to    the   Peters

Declaration is a copy of notes taken by Bright indicating that on

February    12,   2018,   Bright      investigated    Randle's      complaint   by

speaking with Barrera and Botello, after which she concluded that

Randle's complaint was unfounded. 46           Because the undisputed evidence

establishes that Bright investigated Randle's complaints of sexual

harassment as soon as Randle named Botello as the person who

touched him, and because Randle testified that after he complained

to Bright, Botello did not touch him again, Randle has failed to

cite evidence from which reasonable jurors could conclude that

defendants failed to take prompt remedial action to                     stop the

harassment of whicb he complained.



          continued)
     43 ( •••

that "the entire process was completely unfair").       Defendants
object and move to strike Cj[Cj[ 1 and 2 of Plaintiff's Affidavit
arguing that they are speculative, conclusory, and lack foundation
as they fail to set forth the basis of Plaintiff's personal
knowledge. See Defendants' Objections and Motion to Strike, Docket
Entry No. 31, pp. 2-3. Since Randle testified at his deposition
that he did not know what, if any, investigation of his complaint
against Botello Bright conducted, defendants' objections to Cj[Cj[ 1
and 2 of Plaintiff's Affidavit are SUSTAINED, and defendants'
motion to strike '3I'3I 1 and 2 of Plaintiff's Affidavit will be
granted.  See S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489,
495 (5th Cir. 1996).

      Randle Deposition, pp. 120:4-121:5, 123:18-24, Exhibit C to
     44

Defendants' MSJ, Docket Entry No. 27-4, pp. 16-17.

      Id. at 172:3-12, Exhibit C to Defendants' MSJ, Docket Entry
     45

No. 27-4, p. 26.
     46
      See Notes of Carla Bright, Exhibit A-2 to Defendants' MSJ,
Docket Entry No. 27-2, pp. 12-13.

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                  (b)   Conclusions as to Randle's          Sexual    Harassment/
                        Hostile Environment Claim

          For the reasons explained above the court concludes that the

summary          judgment   record does   not    contain   evidence   capable    of

establishing a prima facie case of sexual harassment/hostile work

environment.



          3.      Retaliation

          Randle alleges that

                  a.    Plaintiff engaged in a protected activity
                        (including,  but   not  limited   to,  making
                        complaints of, participating in, and opposing
                        discrimination;)

                  b.    Plaintiff was subjected to adverse employment
                        action(s); and

                  c.    There I is   a causal connection between the
                        protected    activity and Defendants' adverse
                        action. 47

          Asserting "Randle admits that he did not report alleged race

discrimination, including the alleged discriminatory remarks by

Barrera, to anyone at AGC, so the only alleged protected activity

is his report about the alleged touching by Botello," 48 defendants

argue that they             are   entitled to summary judgment on        Randle' s

retaliation claim because Randle cannot establish a prima facie


          47
               Plaintiff' s Original Complaint,     Docket Entry No.     7, p.    9
'][ 44.

      Defendan ts' MS J, Docket Entry No. 27, p. 2 8 (citing Randle
          48

Deposition, pp. 31:10-32:24, 133:10-21, Exhibit C to Defendants'
MSJ, Docket Entry No. 27-4, pp. 4 and 20).

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case of retaliation, and, alternatively, Randle cannot establish

pretext or that retaliatory motives played a role in the decisions

affecting his employment. 49         Randle responds that the day after he

complained to Bright about Botello's sexually harassing conduct,

Barrera retaliated against him by issuing him.a written warning on

a disciplinary action form, and that one month later, the day after

he asked Bright about the status of her inquiry into his complaint

against Botello,       Jaramillo retaliated against him by discharging

him for     violating     work    rules. 50     Retaliation       claims   based on

circumstantial evidence use the same burden-shifting analysis as

race-discrimination claims.           See Wallace, 777 F. App'x at 91.



              (a)   Randle   Establishes          a     Prima     Facie    Case     of
                    Retaliation

     Section        21.055   of    the    TCHRA       prohibits    employers      from

retaliating against their employees for engaging in protected

activities such as opposing a discriminatory practice,                     making a

charge, or filing a complaint.                See Gumpert, 293 S.W.3d at 262.

Where, as here, the plaintiff does not provide direct evidence of

retaliation, he must establish a prima facie case by showing thit

(1) he engaged in protected activity,                 (2) he suffered a material

adverse action, and (3) a causal link exists between the protected



     49
          Id. at 28-30.
     50
          Plaintiff's Response, Docket Entry No. 28, pp. 3-6.

                                         -31-
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activity and the material adverse action.             Id.   See also Wallace,

777 F. App'x at 91        (citing Jenkins v. City of San Antonio Fire

Department, 784 F.3d 263, 269 (5th Cir. 2015)).



                    (1)   Randle Engaged in Protected Activity

       An employee has engaged           in protected activity if he has

opposed any practice made an unlawful practice under the TCHRA.

Texas Labor Code § 21.055.         See also Wallace, 777 F. App'x at 91

(citing Turner v. Baylor Richardson Medical Center, 476 F.3d 337,

348    (5th Cir. 2007)).       "To satisfy this opposition requirement,

[Randle] need only show that []he had a 'reasonable belief that the

employer engaged in unlawful employment practices.'"                 Turner, 476

F.3d at 348.    Although defendants dispute Randle's assertion that

his    complaints     about   Botello's     conduct   to    Bright    constitute

protected activity, 51 the Fifth Circuit has held that "an employee's

complaint to the head of personnel consti.tuted protected activity."

Aryain v. Wal-Mart Stores, Tex. LP, 534 F.3d 473, 484 & n. 8 (5th

Cir.    2008)       Since,    however,    Randle   testified   that    he   never

complained about Barrera's allegedly racist comments to anyone at

AGC, 52 Randle cannot establish a claim for retaliation based on a

complaint of race or color discrimination.


      Id. at 4 (asserting that he "lodge [d] a complaint that is
       51

protected activity"); Defendants' MSJ, Docket Entry No. 27, p. 28.

      Randle Deposition, pp. 31:6-32:24, and 133:10-21, Exhibit C
       52

to Defendants' MSJ, Docket Entry No. 27-4, pp. 4 and 20.

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                         (2)    Randle's Discharge Was a Adverse Action

     Randle argues that

     from the time he exercised the protected constitutional
     right to complain about racial discrimination in the work
     place under Title 21 the immediate supervisor Galvino
     Barrera retaliated the same day by fabricating a[nd]
     falsifying allegations of him being on his phone and then
     that he did not know how to operate the machinery when in
     fact the plaintiff had not had no complaints until he
     complained of the abuse. 53

Randle also argues that after he asked Bright about the status of

the investigation of the complaints that he had lodged against

Botello, "he received a fabricated write up from Fabio[] Jaramillo,

whom falsified that the new supervisor told him of these alleged

allegations when the new supervisor should 'have been the one whom

should have written the alleged allegations,"54 pursuant to which

he was discharged. 55

        An adverse action for purposes of establishing a prima facie

case of retaliation is one that "a reasonable employee would have

found             [to be] materially adverse, which in this context means

it well might have dissuaded a reasonable worker from making or

supporting a charge of discrimination."                    Burlington Northern &

Santa        Fe Railway        Co. v.   White,   126   S. Ct. 2405, 2415   (2006)

(internal quotation marks and citations omitted).                While discharge


        53
             Plaintiff's Response, Docket Entry No. 28, p. 4.
        54
             Id. at 5.

      Id. at 4 ( subheading "the falsified alleged reasons for
        55

plaintiff's unlawful discharge").

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undisputedly constitutes a materially adverse employment action

capable of supporting a retaliation claim, the written warning that

Randle    received   from   Barrera     on   February   8,   2018,   does   not

constitute a materially adverse employment necessary to support a

claim for retaliation.56      See Gumpert,      293 S.W.3d at 263 (holding

that a "single alleged disciplinary action does not amount to a

materially adverse employment action necessary to support a claim

for retaliation").      In Jackson v. Honeywell International, Inc.,

601 F. App'x 280,     286 . (5th Cir.    2015), the Fifth Circuit stated

that "written warnings and unfavorable performance reviews are not

adverse actions where colorable grounds exist for disciplinary


      And even if the written warning could be considered a
     56

sufficiently adverse action to support a retaliation claim, Randle
has failed to make a showing other than temporal proximity that the
written warning was linked in any way to his complaints about
sexual harassment. Jaramillo has stated in his declaration that he
instructed Barrera to issue the disciplinary write up to Randle:

     In February of 2018, I informed Human Resources ("HR")
     Manager Carla Bright that Mr. Barrera and I had to
     frequently counsel Mr.. Randle about not using his phone
     while working on the jobsite and not doing his work and
     that I observed that he did not know how to operate the
     roller machine.   I also informed Ms. Bright that I had
     personally instructed Mr. Barrera to issue Mr. Randle a
     disciplinary write up for these infractions. At the time
     I instructed Mr. Barrera to issue the write up to
     Mr. Randle, I was not aware of Mr. Randle claiming he had
     been touched by another employee or whether he had
     reported to anyone at AGC that he had been touched by
     another employee. Following my instruction, Mr. Barrera
     is sued the disciplinary write up to Mr. Randle on or
     around February 9, 2018.

Jaramillo Declaration, Exhibit B to Defendants' MSJ, Docket Entry
No. 27-3, p. 3 <JI 4.

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action cir where the employee continues to engage in protected

activity."     Here,    evidence provided by the Peters and Jaramillo

declarations, and by the notes maintained by Bright and attached to

the Peters declaration provide colorable grounds for both the

written warning that Randle received on February 8, 2018, and for

Jaramillo's    decision       to    discharge     Randle   on   March   9,   2018.

Moreover, Randle's deposition testimony that after he complained of

Botello's conduct to Bright in February of 2018,                 he returned to

Bright on March 9, 2018, to ask about her investigation shows that

the written warning did not dissuade Randle from continuing to

engage in arguably protected conduct.                  Accordingly,     the court

concludes that Randle's discharge constitutes an adverse event

sufficient to support his retaliation claim, but that the written

warning Randle received on February 8, 2018, does not constitute

such an adverse employment action.



                  (3)    Causal Connection Between Protected Activity
                         and Adverse Employment Action

     Temporal proximity of the adverse employment action to the

protected activity can be a factor in establishing the causal

connection     needed    to        substantiate    a   prima    facie    case   of

retaliation.    Garcia v. Professional Contract Services, Inc., 938

F.3d 236, 242 (5th Cir. 2019)            ("[A] plaintiff           can show the

prima facie case's required             'causal connection' by pointing to

close enough timing between the protected activity and the adverse

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action.").      For temporal proximity alone to establish prima facie

causation, it must be "very close."            Clark County School District

v. Breeden, 121 S. Ct. 1508, 1511 (2001) (listing cases).

        Randle engaged in protected activity by complaining of sexual

harassment to Bright in February of 2018,               and he experienced an

adverse employment action when Jaramillo discharged him on March 9,

2018.     The close temporal proximity of one month between Randle's

complaint of sexual harassment and his discharge is sufficient to

establish a prima facie case of retaliation under § 21.055.                    See

Garcia,    93 8 F.3d at 2 4 3 ( "This court has previously held that a

period     of   two    months   is   close     enough     to   show    a   causal

connection.").        See also Breeden, 121 S. Ct. at 1511 (citing with

approval a case holding that three months was not sufficient to

show a causal connection).



             (b)   Defendants Cite a Legitimate,           Non-Discriminatory
                   Reason for Randle's Discharge

        For the reasons stated in§ II.B.l(b)(2), above, the court has

already concluded that defendants have satisfied their burden to

produce    evidence     of   legitimate,     non-discriminatory       reason   for

discharging Randle on March 9, 2018.




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                (c)    Randle   Fails  to   Cite       Evidence        Capable   of
                       Establishing Pretext

       Unlike claims for discrimination subject to§ 21.125(a) of the

Texas Labor Code,          which applies a "motivating factor" causation

standard,       retaliation claims under § 21.055 are subject to the

traditional "but for" causation standard.              See Gumpert, 293 S.W.3d

at    2 62 ( "For an adverse action to be causally linked to the

protected conduct, a plaintiff must show that the action would not

have occurred but for the protected conduct.").                 See also Garcia,

938 F.3d at 243-44 ("At the pretext stage,                   the Supreme Court's

decision in [University of Texas Southwestern Medical Center v.]

Nassar[, 133 S. Ct. 2517, 2533 (2013)], requires a showing of but-

for causation, which requires more than mere temporal proximity.").

In other words, Randle must cite evidence capable of proving that

he would        not    have been   discharged    but   for    having    engaged in

protected activity.

        Citing        Randle's     deposition     testimony and Jaramillo's

declaration,          defendants argue that "Randle has no evidence that

Jaramillo - who made the discharge decision - was aware of Randle's

report to        Human Resources about         Botello or     any other    alleged

protected activity." 57          Jaramillo declared that

        My decision to discharge Mr. Randle had nothing to do
        with his race or sex.    I was never made aware during
        Mr. Randle's employment with AGC of any complaints by
        Mr. Randle that he felt like he was being discriminated


        57
             Defendants' MSJ, Docket Entry No. 27, p. 29.

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    against or harassed because of his race or sex, that
    another employee had touched him, or that employees made
    discriminatory remarks about him. 58

Randle testified that he never reported any of his complaints to

Jaramillo and that he did not know if Jaramillo was aware of them:

     Q.   You never reported any discrimination to Mr. Fabio;
          right?

     A.   No.

     Q.   You don't know one way or the other whether or not
          Mr. Fabio even knew about your prior complaints;
          right?

     A.   No.

     Q.   That's right, you don't know?

     A.   I don't know. 59

     In    response      to   defendants'     proffered      legitimate,

nondiscriminatory reasons for his discharge,        Randle argues that

defendants' stated reasons are false, and that retaliatory intent

is shown by the timing of his discharge only one month after he

complained about Botello's harassment. 60      "Temporal proximity may

be evidence of a causal connection only when a person with input

into the employment decision was aware of the protected activity."

Crutcher v. Dallas Independent School District, 410 S.W.3d 487, 496



     58 Jaramillo
                Declaration, Exhibit B to Defendants' MSJ, Docket
Entry No. 27-3, p. 4 � 6.

      Randle Deposition, p. 133:13-21,
     59
                                             Exhibit C to Defendants'
MSJ, Docket Entry No. 27-3, p. 20.
     60 Plaintiff's   Response, Docket Entry No. 28, pp. 3-6.

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(Tex. App. - Dallas 2013, no pet.).                  The summary judgment record

contains evidence that Randle complained about Botello touching him

to     Bright,     the    individual          charged     with       investigating       such

complaints, but does not contain any evidence capable of proving

either that Randle made a similar complaint to                              Jaramillo,    the

individual       who    made    the    decision      to   discharge          him,   or   that

Jaramillo knew that Randle complained to Bright about Botello's

allegedly harassing conduct.                 The court concludes, therefore, that

the summary judgment record lacks evidence from which reasonable

jurors     could       conclude      that     Jaramillo     knew       that    Randle     had

complained about Botello's conduct.                  Because the summary judgment

record lacks evidence from which reasonable jurors could conclude

that Jaramillo knew that Randle complained about Botello's conduct,

the    summary     judgment         record    contains     no    evidence       from     which

reasonable jurors could find that Jaramillo discharged Randle in

retaliation for having engaged in protected conduct by complaining

about Botello's conduct.

        Temporal proximity alone is insufficient to prove a causal

link connecting the protected activity and the adverse employment

action.     Garcia, 938 F.3d at 243-44 (citing Strong v. University

Healthcare System,          L.L.C.,      482 F.3d .802,         808    (5th Cir. 2007)).

Temporal proximity may only create a genuine dispute of material

fact    on the     issue       of   but-for     causation       if    the    employee     also

introduces other probative evidence of pretext.                        Id.    Randle's only


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additional evidence of pretext is his deposition testimony denying

that he engaged in the conduct for which he was discharged, 61

Although Randle asserts that he did not engage in the conduct for

which he was discharged, for the reasons stated in § II.B.l(b) (3),

above,    with respect to        Randle's race and color discrimination

claims, the court has already found that Randle has failed to cite

evidence from which reasonable              jurors could conclude that the

decision to discharge him was not based on Jaramillo's reasonable

belief that he had violated work rules by u�ing his cell phone

while working, taking long and unauthorized breaks, abandoning his

position    during     work    without     notice        to    his   supervisor,   and

incorrectly reporting hours for on the job training.

     Randle argues that Jaramillo's non-retaliatory reasons for

discharging him are false, but apart from his deposition testimony

he has not presented evidence capable of either supporting his

argument that Jaramillo's stated reasons for his discharge are

false, or that Jaramillo did not reasonably believe that Randle

engaged in the conduct for which he was discharged.                       The court's

job "conducting a pretext analysis is not to engage in second-

guessing of an employer's business decisions."                        White v. Denton

County,    655   F. App'x 1021,      1026        (5th    Cir. 2016)      (per curiam)

(citing    LeMaire     v.     Louisiana    Department          of    Transportation   &

Development,     480   F.3d 383,     391     (5th       Cir.   2007)).     "Our anti-


      Randle Deposition, pp. 177:6-182:21, Exhibit C to Defendants'
     61

MSJ, Docket Entry No. 27-4, pp. 27-28.

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discrimination laws do not require an employer to make proper

decisions, only non-retaliatory ones."       LaMaire, 480 F.3d at 391.

Because Randle has failed to cite evidence that Jaramillo was aware

that he had engaged in protected conduct by complaining about

Botello's conduct,    and has failed to do more than deny that he

engaged in the conduct for which Jaramillo discharged him, Randle

has failed to raise a genuine issue of material fact for trial

regarding whether Jaramillo's decision to discharge him was a

pretext for retaliation.     See Crutcher, 410 S.W.3d at 498.



           (d)   Conclusions as to Retaliation

     For the reasons explained above,        the court concludes that

Randle has failed to raise a genuine issue of material fact for

trial on his retaliation claim.    Randle's subjective belief that he

was discharged in retaliation for complaining of sexual harassment

is not sufficient to create an inference that defendants did not

discharge him for the stated reasons that he repeatedly violated

work rules by using his cell phone while working, taking long and

unauthorized breaks, abandoning his position during work without

notice to his supervisor, and incorrectly reporting hours for on

the job training.    See Gumpert, 293 S.W.3d at 262-63 ("[S]ubjective

belief as to the motivation for the action is insufficient to

defeat summary judgment.").




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              III. Defendants' Objections and Motion to Strike

     Defendants object to Plaintiff's Declaration in its entirety

because it was not timely filed pursuant to Local Rules 7.3 and

7.4(A), and object to each paragraph individually as speculative,

conclusory,         lacking    in    foundation,      and   based    on   inadmissible

hearsay.62         For the reasons stated in footnote 12, above, the court

has sustained the defendants' objections to the last paragraph of

Plaintiff's         Affidavit       purporting   to    show   that     the   Jaramillo

Declaration is false, and for the reasons stated in footnote 43,

above, the court has sustained the defendants' objections to the

two numbered paragraphs of Plaintiff's Affidavit purporting to show

that defendants either failed to investigate his sexual harassment

complaint and/or that the investigation was unfair.                       "Despite [the

Fifth Circuit's]         general willingness to construe pro se filings

liberally,         [the Fifth Circuit] still require[s] pro se parties to

fundamentally abide by the rules that govern federal courts.

Pro se litigants must properly                          present summary judgment

evidence."         E.E.O.C. v. Simbaki, Ltd., 767 F.3d 475, 484 (5th Cir.

2014)        (internal   quotations      and     citations    omitted).           Because

Plaintiff's Affidavit contains only the paragraphs for which the

court        has   sustained    objections,      Defendants'        Motion   to    Strike

Plaintiff's Affidavit (Docket Entry No. 31) will be granted.



      Defendants' Objections and Motion to Strike,
        62
                                                                          Docket Entry
No. 31.

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                      IV. Defendants' Motion for Sanctions
                        and Defendants' Motion in Limini

        Asserting that on October 22, 2020, the court granted their

motion to compel discovery and ordered Randle to supplement his

discovery responses and document production, and fully respond to

Defendants' Second Requests for Production by November 12, 2020,

but    that      as   of   December   15,    2020,    Randle   had    not    responded,

defendants        seek     reasonable       and    just   sanctions    for     Randle's

discovery abuse pursuant to Federal Rule of Civil Procedure 37 (b). 63

Defendants explain that

        [t]he discovery requests at issue in the Discovery Order
        [that] Plaintiff has ignored are related to Plaintiff's
        claims of discrimination, harassment, retaliation and
        alleged damages.   In particular, many of the requests
        seek basic information and documents directly related to
        his claims for lost wages and mental anguish damages, as
        well as Defendants' affirmative defense that Plaintiff
        failed to mitigate his damages. Without this discovery,
        Defendants are prejudiced in their ability to assess
        Plaintiff's claims for damages, including offsets for
        lost wages, and are prejudiced in their ability to
        advance their failure-to-mitigate defense. 64

Defendants ask the Court to dismiss this action with prejudice.                      65



        For the reasons stated in § II, above, the court has already

concluded that defendants are entitled to summary judgment on all

of the claims that Randle has asserted in this action.                          Because



        63
             Defendants' Motion for Sanctions, Docket Entry No. 32, pp. 1-
2.
        64
             Id. at 3.
        65
             Id. at 5.

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pursuant to the granting of Defendants' MSJ, this action will be

dismissed with prejudice, Defendants' Motion for Sanctions (Docket

Entry No. 32), which seeks dismissal of this action with prejudice,

will be denied as moot.       Because this action will be dismissed with

prejudice, Defendants' Motion in Limini (Docket Entry No. 33) will

also be denied as moot.



                  V. Plaintiff's Motion for Ineffective
                    Assistance of Counsel During Trial

        Asserting that his last attorneys of record withdrew because

he    did    not want   to   accept   a settlement    of�er,   and   that the

attorneys refuse to send documents to him, Randle moves the court

to hold a hearing "to set out the differences between the plaintiff

and the former attorney of record. " 66      The clerk's docket shows that

on June 12, 2020, attorneys Adam Poncio and the Poncio Law Offices,

P.C., and Darius Khosravia and DK Law PLLC, moved to withdraw as

attorneys of record for Randle (Docket Entry No. 18), and that on

the same day the court entered an Order on Unopposed Corrected

Motion to Withdraw as Counsel of Record              (Docket Entry No.   19),

granting the motion to withdraw, abating the case for 30 days so

Randle could seek other counsel, and setting scheduling deadlines.

The pending motion for ineffective assistance of counsel does not

contain a certificate of service indicating that it has been served


      Plaintiff's Motion for Ineffective Assistance of Counsel
        66

during Trial, Docket Entry No. 34, pp. 1-2.

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upon Randle's former counsel.          Moreover, any dispute that Randle

has with his former attorneys over their representation of him in

this action is a matter separate and apart from the current action

and for   which     the court   does     not    likely    have   jurisdiction.

Accordingly,    Plaintiff's     Motion    for    Ineffective     Assistance   of

Counsel During Trial will be denied.



                       VI.    Conc1usions and Order

      For the reasons stated in § II,            above,   the court concludes

that Randle has failed to raise genuine issues of material fact for

trial on his claims for race and color discrimination,                   sexual

harassment/hostile environment, and retaliation in violation of the

Texas Commission on Human Rights Act.              Accordingly,     Defendants'

Motion for Summary Judgment, Docket Entry No. 27, is GRANTED.

      For the reasons stated in§ III, above, Defendants' Objections

and   Motion   to   Strike   Plaintiff's       Affidavit    in   Opposition      to

Defendants' Motion for Summary Judgment,            Docket Entry No.     31, is

GRANTED, and Plaintiff's Affidavit in Dispute of Defendant Peters,

Cody and Fabio Jaramillo, Docket Entry No. 29, is STRICKEN.

      For the reasons stated in§ IV, above, Defendants' Motion for

Sanctions, Docket Entry No. 32, is DENIED as MOOT, and Defendants'

Motion in Limini, Docket Entry No. 33, is DENIED as MOOT.




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     For the reasons stated in § V, above, Plaintiff's Motion for

Ineffective   Assistance   of   Counsel   during   Trial,   Docket   Entry

No. 34, is DENIED.

     SIGNED at Houston, Texas, on this 5th           of January, 2021.




                            SENIOR UNITED STATES DISTRICT JUDGE




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